Case: 2:19-cv-01911-MHW-EPD Doc #: 26 Filed: 09/19/19 Page: 1 of 3 PAGEID #: 198




                         THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

JOHN DOE M.B., et al.,                   )               Case No. 2:19-cv-01911
                                         )
            Plaintiffs,                  )               Judge Michael H. Watson
                                         )
v.                                       )               Chief Magistrate Judge Elizabeth P.
                                         )               Deavers
THE OHIO STATE UNIVERSITY,               )
                                         )
            Defendant.                   )
________________________________________ )

             DEFENDANT THE OHIO STATE UNIVERSITY’S
   UNOPPOSED MOTION TO EXTEND DEADLINE TO MOVE, ANSWER, OR
 OTHERWISE PLEAD TO FIRST AMENDED COMPLAINT PENDING MEDIATION

       Pursuant to Rules 6(b)(1)(A) and 15(a)(3) of the Federal Rules of Civil Procedure, Local

Rule 6.1(a) and Judge Watson’s Standing Orders governing motions for extensions of time,

defendant The Ohio State University (“Ohio State”) respectfully moves this Court to enter an

Order clarifying that the Court’s August 26, 2019 order granting Defendant The Ohio State

University’s Unopposed Motion to Extend Deadlines to Move, Answer, or Otherwise Plead to

Complaints Pending Mediation in the above-captioned action (ECF No. 22) also applies to the

First Amended Complaint filed subsequent to the order on September 5, 2019 (ECF No. 23).

       The August 26, 2019 Order extended “all deadlines to move, answer, or otherwise plead to

the complaints . . . until such time as the parties have concluded their mediation efforts and the

Court has set a deadline for Ohio State to respond to the complaints” in the above-captioned action

and the following cases which have been consolidated for purposes of mediation: Michael

DiSabato, et al. v. The Ohio State University, S.D. Ohio Case No. 2:19-cv-02237; Michael

Heifferon v. The Ohio State University, S.D. Ohio Case No. 2:19-cv-02429; and John Does 37-66

v. The Ohio State University, S.D. Ohio Case No. 2:19-cv-03165. Subsequent to the entry of
Case: 2:19-cv-01911-MHW-EPD Doc #: 26 Filed: 09/19/19 Page: 2 of 3 PAGEID #: 199




August 26, 2019 Order, plaintiffs in the above-captioned action filed their First Amended

Complaint on September 5, 2019 (ECF No. 23).

       Ohio State now seeks an order clarifying that the Court’s August 26, 2019 order granting

Defendant The Ohio State University’s Unopposed Motion to Extend Deadlines to Move, Answer,

or Otherwise Plead to Complaints Pending Mediation in the above-captioned action (ECF No. 22)

also applies to the First Amended Complaint in the above-captioned action, such that Ohio State’s

deadline to move, answer, or otherwise plead to the First Amended Complaint (ECF No. 23) is

extended during the pendency of mediation until such time as the parties have concluded their

mediation efforts and the Court has set a deadline for Ohio State to respond to the First Amended

Complaint.

       Counsel for Ohio State were able to confer with counsel for plaintiffs related to the instant

Motion. Plaintiffs do not oppose the relief requested in this Motion. A Proposed Order is attached.


                                             DAVID A. YOST
                                             ATTORNEY GENERAL OF OHIO

                                      By:     /s/ Michael H. Carpenter
                                             Michael H. Carpenter (0015733) (Trial Attorney)
                                             Timothy R. Bricker (0061872)
                                             David J. Barthel (0079307)
                                             Stephen E. Dutton (0096064)
                                             CARPENTER LIPPS AND LELAND LLP
                                             280 Plaza, Suite 1300
                                             280 North High Street
                                             Columbus, OH 43215
                                             E-mail:carpenter@carpenterlipps.com
                                                     bricker@carpenterlipps.com
                                                     barthel@carpenterlipps.com
                                                     dutton@carpenterlipps.com

                                             Special Counsel for Defendant The Ohio State
                                             University




                                                2
Case: 2:19-cv-01911-MHW-EPD Doc #: 26 Filed: 09/19/19 Page: 3 of 3 PAGEID #: 200




                                CERTIFICATE OF SERVICE

       I certify that a copy of the foregoing was filed electronically on September 19, 2019. Notice

was sent by operation of the Court’s electronic filing system to all other counsel who have entered

an appearance and any parties who have entered an appearance through counsel. The parties may

access this filing through the Court’s ECF system.



                                             /s/ Michael H. Carpenter
                                             Trial Attorney for
                                             Defendant The Ohio State University




                                                3
